Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 1 of 14 PageID# 14208




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

  CSX TRANSPORTATION, INC.,

                          Plaintiff,

      v.                                                  Civil Action No. 2:18-cv-530-MSD-RJK

  NORFOLK SOUTHERN RAILWAY
  COMPANY, et al.,

                          Defendants.

           NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY’S
                 BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
                     ALL REMAINING CLAIMS FOR RELIEF

           Defendant Norfolk and Portsmouth Belt Line Railroad Company (“Belt Line”), by counsel,

  pursuant to Rules 12(h)(3), 12(c), and 15 U.S.C. § 26, states as follows in support of its Motion to

  Dismiss All Remaining Claims for Relief:

                                                Summary

           In this Court’s opinion and order issued January 3, 2023, the Court granted summary

  judgment in favor of defendants on all claims for damages and all state law claims. See ECF 559.

  The Court denied summary judgment “as to the court-raised issue of injunctive relief,” ECF 559

  at 103, leaving only CSX’s claims for injunctive relief under federal antitrust law for trial. 1

           As set forth in the Complaint and discovery responses, CSX seeks three categories of

  injunctive relief: (1) a general request to enjoin violation of law; (2) a request to force the Belt

  Line to accept CSX’s 2018 service proposal; and (3) a request to “restore[] CSXT’s right as a co-

  equal shareholder and/or establish[] an independent board structure.” ECF 1 at 40.



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           There is no viable state law injunctive relief at this point. See ECF 559 at n.46.
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 2 of 14 PageID# 14209




         Under 15 U.S.C. § 26, in an antitrust case, federal district courts have no authority to grant

  “injunctive relief against any common carrier subject to the jurisdiction of the Surface

  Transportation Board under subtitle IV of title 49.” Before 1995, this statute contained an

  additional condition, such that injunctive relief was prohibited only if the requested remedy was

  also “in respect of any matter subject to the regulation, supervision, or other jurisdiction of the

  Interstate Commerce Commission.” 15 U.S.C. § 26 (1994 version with comparison) (Exhibit 1);

  see also Georgia v. Pennsylvania R.R., 324 U.S. 439, 455 (1945).

         In 1995, with the termination of the Interstate Commerce Commission, Congress amended

  15 U.S.C. § 26 and removed the additional condition, effective January 1, 1996. Consequently,

  only one inquiry exists today, focused not on the kind of relief sought, but solely on the kind of

  defendant to be enjoined. If a defendant in an antitrust case is a common carrier subject to STB

  jurisdiction, no federal court has power to award injunctive relief of any kind. See, e.g., Truck-

  Rail Handling Inc. v. BNSF Ry., 2005 U.S. Dist. LEXIS 61300 at *12 n.5 (N.D. Cal. 2005).

         It is undisputed that NS and the Belt Line are common carriers subject to the jurisdiction

  of the STB, which means as a matter of law that this Court has no authority to grant the remaining

  relief in this case. Rule 12(h)(3) requires dismissal for lack of remaining subject matter jurisdiction

  and, alternatively, Rule 12(c) requires judgment on the pleadings if jurisdiction exists.

                                          Standard of Review

         Under Rule 12(h)(3), in any civil action, “If the court determines at any time that it lacks

  subject-matter jurisdiction, the court must dismiss the action.” Fed. R. Civ. P. 12(h)(3). Unlike a

  Rule 12(b)(1) motion, a Rule 12(h)(3) motion “may be asserted at any time and need not be

  responsive to any pleading of the other party.” Brown v. Huntington Ingalls, Inc., 2013 U.S. Dist.

  LEXIS 146933 at *8-9 (E.D. Va. 2013) (quoting Rubin v. Buckman, 727 F.2d 71, 72 (3d Cir.



                                                    2
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 3 of 14 PageID# 14210




  1984)). Questions “concerning subject-matter jurisdiction may be raised at any time by either

  party or sua sponte by [the] court.” Id. at *9 (quoting Plyler v. Moore, 129 F.3d 728, 731 n.6 (4th

  Cir. 1997)). Once subject matter jurisdiction is challenged, the plaintiff “bears the burden of

  persuasion.” Williams v. United States, 50 F.3d 299, 304 (4th Cir. 1995) (citing Kehr Packages,

  Inc. v. Fidelcor, Inc., 926 F.2d 1406, 1409 (3d Cir. 1991)).

         Under Rule 12(c), “After the pleadings are closed—but early enough not to delay trial—a

  party may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). “A motion for judgment

  on the pleadings under Rule 12(c) is assessed under the same standards as a motion to dismiss

  under Rule 12(b)(6).” Columbia v. Haley, 738 F.3d 107, 115 (4th Cir. 2013) (citing Edwards v.

  City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999)). “Therefore, a motion for judgment on the

  pleadings ‘is designed to provide a means of disposing cases when the material facts are not in

  dispute between the parties’.” Trustees of Columbia Univ. v. Nortonlifelock, Inc., 2021 U.S. Dist.

  LEXIS 259261 at *3 (E.D. Va. 2021). Under Rule 12(h)(2), failure to state a claim can be raised

  in a Rule 12(c) motion or even at trial. See Fed. R. Civ. P. 12(h)(2); ECF 395 at 7-8.

         As stated in the accompanying motion, the Belt Line is mindful of the January 18, 2023

  trial date and is filing its motion as soon as practical after receiving the Court’s opinion on January

  3, 2023, evaluating the remaining relief, consulting railroad regulatory counsel, and analyzing

  applicable law. The focus of this case for years has been the “hundreds of millions of dollars” in

  damages sought by CSX, ECF 559 at 38, and shifted only recently to injunctive relief, where the

  Belt Line raised 15 U.S.C. § 26. See ECF 542. 2 Additionally, until the summary judgment ruling

  six days ago, CSX’s state law claims were still at issue.




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          In more than four years of litigation, despite a need to show impending violation of the
  antitrust laws, even CSX itself has not pursued the issue by seeking preliminary remedies.

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Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 4 of 14 PageID# 14211




                                              15 U.S.C. § 26

          15 U.S.C. § 26 states as follows:

          § 26. Injunctive relief for private parties; exception; costs

           Any person, firm, corporation, or association shall be entitled to sue for and have injunctive
  relief, in any court of the United States having jurisdiction over the parties, against threatened loss
  or damage by a violation of the antitrust laws, including sections two, three, seven and eight of this
  Act [15 U.S.C. §§ 13, 14, 18, 19], when and under the same conditions and principles as injunctive
  relief against threatened conduct that will cause loss or damage is granted by courts of equity, under
  the rules governing such proceedings, and upon the execution of proper bond against damages for
  an injunction improvidently granted and a showing that the danger of irreparable loss or damage is
  immediate, a preliminary injunction may issue: Provided, That nothing herein contained shall be
  construed to entitle any person, firm, corporation, or association, except the United States, to bring
  suit for injunctive relief against any common carrier subject to the jurisdiction of the Surface
  Transportation Board under subtitle IV of title 49, United States Code [49 U.S.C. §§ 10101 et seq.].
  In any action under this section in which the plaintiff substantially prevails, the court shall award the
  cost of suit, including a reasonable attorney’s fee, to such plaintiff.

                                         Relevant Background

          The background of this case is summarized in the Court’s summary judgment opinion. For

  purposes of this motion, the following additional information is relevant.

          As the Belt Line explained in its brief on the issue of injunctive relief, ECF 542, the

  Complaint contains just two paragraphs on injunctive relief in the wherefore clause:

                  4)      That this Court enter an injunction against Defendants from
          continuing to commit the above referenced violations of federal and state law
          [referring to entire Complaint]; 3

                 5)      That this Court enter an injunction against NS, NPBL, and the
          Individual Defendants, as appropriate, that restores CSXT’s right as a co-equal
          shareholder and/or establishes an independent board structure as previously proposed
          by CSXT and that directs that NPBL approve CSXT’s Service Proposal; 4


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          This kind of generic request is unenforceable under Rule 65, even ignoring 15 U.S.C. § 26,
  for reasons explained in the defendants’ previous filings. See ECF 542 at 4 and ECF 543 at 5.
  4
          CSX did not ask for approval of its 2018 service proposal in the Proposed Final Pretrial
  Order. See ECF 517-1 at 12. This failure is addressed in the Court’s summary judgment opinion
  at footnote 37. See ECF 559, n. 37. For purposes of this motion, whether such failure constitutes
  a waiver makes no difference, as no form of injunctive relief is available.

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Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 5 of 14 PageID# 14212




  ECF 1 at 40. These requests are repeated in CSX’s discovery responses. See Answer to NS

  Interrogatory No. 9 (repeating requests when asked for specific relief sought) (Exhibit 2).

         Importantly, CSX’s antitrust claims are the only source of CSX’s requested injunctive relief

  under federal law. There are no other federal law claims in the Complaint. See ECF 1.

         On December 13, 2022, this Court directed the parties to submit supplemental briefing on

  the issue of injunctive relief, posing a question whether, if trial were to proceed only on injunctive

  relief, that trial should occur before or after further action by the STB. See ECF 535 at 3. Both

  defendants answered effectively “neither,” since the case should be dismissed instead. See ECF

  542 at 8 (“The short answer to the Court’s third question is that this case should be dismissed, not

  delayed, with judgment entered against CSX on all claims. … No injunctive relief is available

  against the Belt Line, so no ruling at the STB will change the outcome of CSX’s claims here.”);

  ECF 543 at 11 (“For the reasons stated, CSX is not entitled to the injunctive relief that it has

  requested, and therefore, this case should be dismissed.”). Both defendants also pointed to 15

  U.S.C. § 26 as foreclosing CSX’s injunctive relief claims. See 542 at 2-3; 543 at 5-6. 5

                                               Argument

  I.     In antitrust cases, no right to injunctive relief exists independently of the statutory
         authority in 15 U.S.C. § 26.

         A.      Authority to grant injunctive relief under 15 U.S.C. § 26 is jurisdictional.

         This Court’s authority to grant the remaining relief in this case is jurisdictional under Rule

  12(h)(3). And to be clear, this motion does not challenge the Court’s subject matter jurisdiction


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          It is noteworthy that CSX’s specific claims for injunctive relief are all within the exclusive
  jurisdiction of the STB. The STB has exclusive jurisdiction over railroad transportation rates
  (including switching rates charged by one railroad carrier to another), and the STB possesses
  exclusive authority under federal law to review and, where appropriate, prescribe such
  transportation rates in the event of a dispute. See 49 U.S.C. §§ 10501(a) and (b)(1), 10701, 10705,
  and 10707. Likewise, pursuant to 49 U.S.C. § 11323(a)(3) and (5), the STB has exclusive
  jurisdiction over a rail carrier’s control of another rail carrier, to whatever extent.

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Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 6 of 14 PageID# 14213




  over CSX’s claims for damages under 15 U.S.C. § 15. See ECF 395 at 5 (finding jurisdiction).

  The question here is whether jurisdiction continues to exist for any further action following

  summary judgment. The answer is no, as jurisdiction under 15 U.S.C. § 15 disappeared with the

  dismissal of CSX’s damages claims, and Congress expressly deprived federal courts of injunctive

  power over common carriers in antitrust suits in 15 U.S.C. § 26. 6

          Federal district courts are courts of limited subject matter jurisdiction, possessing “only the

  jurisdiction authorized them by the United States Constitution and by federal statute.” U.S. ex rel.

  Vuyyuru v. Jadhav, 555 F.3d 337, 347 (4th Cir. 2008).

          In antitrust cases, no right to injunctive relief exists independently of the statutory authority

  in 15 U.S.C. § 26. See Vendo Co. v. Lektro-Vend Corp., 433 U.S. 623, 634 (1977) (analyzing

  injunctive relief under 15 U.S.C. § 26). As the Supreme Court explained in Vendo, “Prior to the

  enactment of § 16, private injunctive relief was not authorized for antitrust violations. As far as

  the legislative history indicates, the sole purpose of § 16 (§ 14 in the original drafts) was to extend

  to private parties the right to sue for injunctive relief.” Id. at n.5 (internal citation omitted). Thus,

  the only way a private antitrust plaintiff has any right to access the federal courts for injunctive

  relief, and the only way federal courts have any power to grant such relief, is 15 U.S.C. § 26.

          Because the authority to grant injunctive relief in antitrust cases derives solely from the

  statute, it follows that, where Congress has not granted such authority, or has, as in this instance,

  expressly prohibited it, no such authority exists. See 15 U.S.C. § 26; see also Vendo, 433 U.S. at

  n.5 (absent grant of authority in statute, “private injunctive relief [is] not authorized for antitrust



  6
          The posture of this case after summary judgment makes it unlike other antitrust cases where
  independent jurisdictional “hooks” existed. See, e.g., Gen. Inv. Co. v. N.Y. Cent. R. Co., 271 U.S.
  228, 230 (1926) (in equity case under diversity jurisdiction, holding that, “Such a suit is essentially
  one arising under the laws of the United States, and, as the requisite value is involved, is one of
  which the District Courts are given jurisdiction.”) (emphasis added; predating current statutes).

                                                     6
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 7 of 14 PageID# 14214




  violations”) and at 651 (“The scope of the jurisdictional grant is just as broad as the definition of

  a violation of the antitrust laws.”) (dissenting opinion, emphasis added).

         B.      15 U.S.C. § 26 deprives a district court of power regardless of jurisdiction.

         Regardless of jurisdictional considerations under Rule 12(h)(3), dismissal is also required

  under Rule 12(c) because no further relief is available in this case as a matter of law. See Fed. R.

  Civ. P. 12(c); see also Truck-Rail Handling Inc., 2005 U.S. Dist. LEXIS 61300 at *12 n.5 (under

  15 U.S.C. § 26 in 2005, holding that injunctive relief was unavailable “as a matter of law” based

  solely on a finding that defendant BNSF “is a common carrier subject to the jurisdiction of the

  Surface Transportation Board”). As explained below, under 15 U.S.C. § 26, Congress expressly

  prohibited federal district courts from prescribing injunctive remedies in antitrust cases against

  common carriers subject to the jurisdiction of the STB.

  II.    A federal district court lacks authority to grant injunctive relief in an antitrust case
         if the defendant is a common carrier subject to the jurisdiction of the STB.

         The authority analysis begins with the statutory text. As the Supreme Court has explained,

  “The starting point in discerning congressional intent is the existing statutory text, and not the

  predecessor statutes. It is well established that when the statute’s language is plain, the sole

  function of the courts—at least where the disposition required by the text is not absurd—is to

  enforce it according to its terms.” Lamie v. United States Tr., 540 U.S. 526, 534 (2004) (citations

  omitted). Nevertheless, prior versions of a statute can, in some instances, inform the current

  meaning. Id. at 539-40 (finding that statutory history created more confusion than clarity).

         The statutory text of 15 U.S.C. § 26 related to common carriers changed meaningfully in

  1995 with the termination of the Interstate Commerce Commission. Before 1995, the jurisdictional

  carve-out from the injunction power in 15 U.S.C. § 26 stated as follows:

                Provided, That nothing herein contained shall be construed to entitle any
         person, firm, corporation, or association, except the United States, to bring suit in

                                                   7
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 8 of 14 PageID# 14215




         equity for injunctive relief against any common carrier subject to the provisions
         of the Act to regulate commerce, approved February fourth, eighteen hundred and
         eighty-seven, in respect of any matter subject to the regulation, supervision, or
         other jurisdiction of the Interstate Commerce Commission.

  15 U.S.C. § 26 (1994) (emphasis added) (Exhibit 1).

         Thus, the pre-1995 statute required two inquiries to determine whether injunctive relief

  was prohibited: (1) whether the defendant was a common carrier subject to the Interstate

  Commerce Act (the kind of defendant inquiry); and (2) whether the relief sought was “in respect

  of any matter subject to the regulation, supervision, or other jurisdiction of the Interstate

  Commerce Commission” (the kind of relief inquiry). Injunctive relief was prohibited only if both

  were answered affirmatively. See generally Georgia, 324 U.S. 439 at 455-55.

         The statute changed in 1995, effective January 1, 1996. As a result, the jurisdictional carve-

  out from the injunction power in 15 U.S.C. § 26 now states as follows:

                 Provided, That nothing herein contained shall be construed to entitle any
         person, firm, corporation, or association, except the United States, to bring suit for
         injunctive relief against any common carrier subject to the jurisdiction of the
         Surface Transportation Board under subtitle IV of title 49, United States Code.

         Congress deleted the second inquiry. Thus, the current statute focuses solely on the kind

  of defendant to be enjoined, not the kind of relief requested. In other words, the statute now

  requires only one inquiry to determine whether injunctive relief is prohibited: Is the defendant a

  common carrier subject to the jurisdiction of the STB? If the answer is yes, then under 15 U.S.C.

  § 26, a federal court has no jurisdiction to grant injunctive relief. See, e.g., Truck-Rail Handling

  Inc., 2005 U.S. Dist. LEXIS 61300 at *12 n.5. 7




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          Under the plain language of the statute, the defendant need not be “subject to the
  jurisdiction” of the STB for any particular purpose, either. The statute requires only that the
  defendant be a common carrier “subject to the jurisdiction” of the STB.


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Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 9 of 14 PageID# 14216




         In fact, any previous precondition to compare potential injunctive relief to the powers of

  the regulatory agency is not only unnecessary now—it is impermissible. Under principles of

  statutory construction, courts cannot imply in a new statute the very thing that Congress eliminated

  from the old one. See Murdock v. Memphis, 87 U.S. 590, 617 (1875) (holding that provisions of

  Judiciary Act of 1789 omitted by amendment were no longer valid law). As the Supreme Court

  has cautioned, “There is a basic difference between filling a gap left by Congress’ silence and

  rewriting rules that Congress has affirmatively and specifically enacted.” Mobil Oil Corp. v.

  Higginbotham, 436 U.S. 618, 625 (1978); see also Lamie, 540 U.S. at 538 (2004). 8

         Courts also cannot alter a statute to grant themselves power that Congress omitted. See,

  e.g., Lamie, 540 U.S. at 542 (courts will not redraft statutes “to provide for what we might think

  … is the preferred result.”) (ellipses in original; quoting United States v. Granderson, 511 U.S.

  39, 68 (1994)).

         And while not dispositive, the legislative history of 15 U.S.C. § 26 indicates that Congress

  is fully aware of the implication of its 1995 amendment. For example, a failed “Railroad Antitrust

  Enforcement Act of 2008” had the stated purpose to “eliminate certain carve-outs from the Federal

  antitrust laws enjoyed by railroad common carriers,” and described the existing law as follows:

  “Private parties are similarly precluded from relying on the antitrust laws to protect themselves

  against or seek remedies for anticompetitive harm caused by the railroads. Under Section 16 of




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          Nor can such an implication be read into the fact that the current version identifies common
  carriers “subject to the jurisdiction of the [STB]” as opposed to “subject to the [ICA].” The ICA
  was repealed and the ICC terminated in 1995. The STB “was created by Congress in 1995 to
  replace the [ICC] as the economic regulator of providers of interstate land and water
  transportation.” Cong. Research Serv. Rept., ‘The Surface Transportation Board: Background and
  Current Issues,’ January 19, 2022 (https://crsreports.congress.gov/product/pdf/R/R47013). Thus,
  as of 1996, in the absence of the ICA and ICC, common carriers in 15 U.S.C. § 26 were identified
  by reference to the federal agency as opposed to the nonexistent ICA.

                                                   9
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 10 of 14 PageID# 14217




   the Clayton Act, injunctive relief against a common carrier subject to the STB’s jurisdiction is

   available only in a suit filed by the Federal Government.” H. Rept. 110-860 for H.R. 1650,

   September 18, 2008, at 3, 5 (Exhibit 3) (emphasis added).

          A similar bill titled “Railroad Antitrust Enforcement Act of 2011” sought to remove

   railroads altogether from the common carrier carve-out in 15 U.S.C. § 26, with the purpose to

   “remove current exemptions and subject the American freight railroad industry to all the provisions

   of the Nation’s antitrust laws.” H. Rept. 112-38 for S. 49, July 18, 2011, at 1 (Exhibit 4). The

   proposed change was designed to enable not just the government, but also private parties, to seek

   injunctive relief against railroads, “thereby mak[ing] injunctive relief available to parties

   threatened with economic injury by antitrust violations of railroad common carriers,” id. at 11, an

   implicit recognition that current law does not permit such relief.

          And a third bill titled “Railroad Antitrust Enforcement Act of 2013” sought the same

   removal of railroads from the common carrier carve-out in 15 U.S.C. § 26, with the same stated

   purpose and recognition of existing law as the previous two bills. See Prop. Bill S.638, March 21,

   2013 (Exhibit 5). All of them failed.

          As a consequence, under 15 U.S.C. § 26 today, based on the plain language of the statute,

   a federal court cannot grant injunctive relief in any antitrust case where the defendant is a common

   carrier subject to the jurisdiction of the STB.

   III.   NS and the Belt Line are common carriers subject to the jurisdiction of the STB and
          therefore this Court lacks authority to grant injunctive relief against them.

          It cannot be disputed that NS and the Belt Line are common carriers subject to the

   jurisdiction of the STB. Both are railroads engaged in interstate commerce, and both are presently

   before the STB, along with CSX, in proceedings related to their operations. It also cannot be

   disputed that this is an antitrust case and that CSX’s antitrust counts provide the sole remaining


                                                     10
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 11 of 14 PageID# 14218




   basis for the injunctive relief that CSX seeks. As a result, under 15 U.S.C. § 26, this Court has no

   jurisdiction or authority to grant CSX further relief and the case should be dismissed.

   IV.    The injunctive relief that CSX seeks invades the jurisdictional province of the STB.

          While beyond the scope of a 15 U.S.C. § 26 analysis post-1995, it is nonetheless significant

   that the relief CSX seeks inevitably (and impermissibly) invades the exclusive jurisdiction of the

   STB, which would have foreclosed district court injunctive authority even before 1995.

          The injunctive relief CSX seeks, as understood and articulated by the Court, fundamentally

   revolves around the level of NS’s control of the Belt Line, whether exercised or not. Such relief

   relates to CSX’s suggestion that “NSR may not have abandoned its willingness to use its ‘control’

   over NPBL for the purpose of benefiting NSR above all else,” and questions of “whether NSR will

   use its ability to control the NPBL Board to harm CSX in the future in the same way it allegedly

   did so in the past.” ECF 559 at 83, 85 (emphasis added). This Court would be asked to, “in

   essence, equitably modify the balance of power at NPBL, by ordering NSR and CSX to have equal

   votes on corporate governance issues or by issuing an injunction that requires Defendants to

   establish a sufficiently ‘independent’ NPBL Board of management structure.” Id. at 83-84. Such

   relief would be tailored “to eliminate the power imbalance when it comes to corporate governance

   issues, board makeup, or the affiliations of corporate officers” and to eliminate NS’s ability to

   “place its thumb on the scale of NPBL matters.” ECF 559 at 84 n.34, 83. In each instance, what

   CSX asks the Court to remediate is, ultimately, NS’s ability to control the Belt Line.

          Such matters of control, however, are expressly “subject to the regulation, supervision, or

   other jurisdiction of the [STB],” to use the now-repealed language of prior 15 U.S.C. § 26. The

   STB has exclusive jurisdiction over the control of one rail carrier by another rail carrier, and over

   the control of more than one rail carrier by a non-carrier. 49 U.S.C. §§ 11323(a)(3), (4) and (5);



                                                    11
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 12 of 14 PageID# 14219




   11323(b). Those provisions are “part of a comprehensive legislative scheme designed to place

   ownership, management, and operational control over common carriers within the regulatory

   jurisdiction of the [Interstate Commerce] Commission [now STB].” Gilbertville Trucking Co. v.

   U.S., 371 U.S. 115, 122 (1962).

          “Control” in this context is broadly defined to include “actual control, legal control, and

   the power to exercise control, through or by (A) common directors, officers, stockholders, a voting

   trust, or a holding or investment company, or (B) any other means.” 49 U.S.C. § 10102(3). The

   STB has explained that the “[c]ontrol of a carrier for which [49 U.S.C. §] 11323 authorization is

   required embraces the power or authority to manage, direct, superintend, restrict, regulate, govern,

   administer or oversee the day-to-day affairs of that carrier.” Soo Line Railroad Company – Petition

   for Declaratory Order, Docket No. FD 33350 (STB served Feb. 4, 1998), 1998 WL 43797, at *8

   (citing Coletti – Control – Comet Freight Lines, 38 M.C.C. 95, 97 (1942), aff’d sub nom. City of

   Ottumwa v. STB, 153 F.3d 879 (8th Cir. 1998). The Supreme Court has similarly “construed this

   language to encompass every type of control in fact and [has] left to the agency charged with

   enforcement the determination from the facts whether ‘control’ exists, subject to normal standards

   of review.” Gilbertville Trucking, 371 U.S. at 125 (citations omitted).

          As this Court observed, STB authorization of a control relationship pursuant to 49 U.S.C.

   § 11323 exempts that relationship from the antitrust laws under 49 U.S.C. § 11321(a). Here, of

   course, the STB concluded that NS did not obtain authorization to control the Belt Line, and has

   clarified its expectation that the “control issue” will be addressed upon conclusion of this case.

   Norfolk Southern Railway Company – Petition for Declaratory Order, Docket No. FD 36522 (STB

   served June 17, 2022), slip op. at 17, n.25. Any remediation of NS’s unauthorized control of the

   Belt Line, however, is plainly within the scope of the STB’s authority.



                                                   12
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 13 of 14 PageID# 14220




          The STB has broad “equitable powers to expunge” unlawful control violations that, indeed,

   largely mirror those possessed by courts when ordering relief in antitrust cases. See Gilbertville

   Trucking, 371 U.S.C. at 130. Thus, “[t]he power of the Commission to respond to conditions of

   illegal control is practically plenary under the Interstate Commerce Act.” Illinois Cent. R. Co. v.

   U.S., 263 F. Supp. 421, 428 (N.D. Ill. 1966), aff’d, 385 U.S. 457 (1967) (per curiam). Entities

   found to unlawfully control a rail carrier can, for example, remedy their non-compliance through

   divestiture or by seeking STB approval of the control relationship. See Ass’n of P&C Dock

   Longshoremen v. Pittsburgh & C. Dock Co., 8 I.C.C.2d 280. 295 (1992). If the STB denies a

   control request, the STB can impose and oversee remedial measures to assure that control can no

   longer be effectuated. In one such case, for example, the ICC explained that its order “will require

   that the Frisco terminate the violation and divest itself of power to vote the stock in the selection

   of Central’s board of directors . . .” Central of Georgia Ry. Co. Control, 307 I.C.C. 39, 44 (1958).

   This closely parallels the suggested injunctive relief here under which CSX would have the Court

   establish a “sufficiently ‘independent’ NPBL Board.” ECF 559 at 84.

          Along the same lines, the STB has longstanding regulations governing the establishment

   and use of independent voting trusts intended to “avoid an unlawful control violation.” 49 C.F.R.

   § 1013.1(a). This type of voting trust was the ultimate remedial mechanism in Central of Georgia

   above, subject to continued oversight by the ICC. See Central of Georgia Control, 312 I.C.C. 125

   (1960), 312 I.C.C. 539 (1961). In sum, the injunctive relief that CSX asks this Court to consider

   overlaps directly with remedial measures already imposed and utilized by the STB.

          Consequently, the Court’s use of injunctive powers to alter the nature of control at the Belt

   Line (whether or not exercised) would directly implicate the jurisdiction and authority of the STB,

   and is therefore within the proscription of 15 U.S.C. § 26, whether under pre- or post-1995 law.



                                                    13
Case 2:18-cv-00530-MSD-RJK Document 573 Filed 01/09/23 Page 14 of 14 PageID# 14221




                                                Conclusion

           For the foregoing reasons, under Rules 12(h)(3), 12(c), and 15 U.S.C. § 26, the Belt Line

   respectfully requests that this Court dismiss this case in its entirety.

            Dated: January 9, 2023                          NORFOLK AND PORTSMOUTH
                                                            BELT LINE RAILROAD COMPANY


                                                      By:          /s/ W. Ryan Snow
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                                     CERTIFICATE OF SERVICE

           I certify that on this 9th day of January 2023, I electronically filed the foregoing with the
   Clerk of the Court using the CM/ECF system, which will send a “Notice of Electronic Filing” to
   all counsel of record who have consented to electronic service.


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                                                     14
